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1 FORD & DIULIO PC
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4 Telephone: (714) 450-6830
5 Attorney for Plaintiff FOCUS 15, LLC
  and Third-Party Defendant MAURIZIO
6 DONADI
7
8                            UNITED STATES DISTRICT COURT
9                      NORTHERN DISTRICT OF CALIFORNIA
10
11   FOCUS 15, LLC,                            Case No. 3:21-cv-01493-EMC
12              Plaintiff,
                                               FIRST AMENDED COMPLAINT
13      v.                                     FOR:
14   NICO CORPORATION, a California              (1)   18 U.S.C § 1962(c) and § 1964
     Corporation; IAN MATTHEW                          (CIVIL RICO);
15   HANNULA, an individual; JOSEPH
     PHILIP HALLER, an individual; and           (2)   18 U.S.C § 1962(d) and § 1964
16   DOES 1 through 50, inclusive,                     (CIVIL RICO CONSPIRACY);
17              Defendants.
                                                 (3)   BREACH OF CONTRACT
18
                                                 (4)   MONEY HAD AND
19                                                     RECEIVED
20
                                                 (5)   UNJUST ENRICHMENT
21
                                                 (6)   VIOLATION OF
22                                                     CALIFORNIA BUSINESS &
                                                       PROFESSIONS CODE § 17200
23
24                                             DEMAND FOR TRIAL BY JURY
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26
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28


                                  FIRST AMENDED COMPLAINT
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 1                           I.   SUMMARY OF COMPLAINT
 2        1. Focus 15 entered into four separate written promissory notes to loan a total of
 3 $225,000.00 to Defendant NICO Corp. between February 2016 and February 2017.
 4 Defendants Hannula and Haller signed each contract as guarantors before a notary public.
 5        2. Focus 15 has performed all of its obligations under the promissory notes by
 6 actually providing the loan amounts to Defendants.
 7        3. In April 2017, Defendants stopped making monthly payments on each of the
 8 four promissory notes in breach of the express terms of the notes proximately causing
 9 damage to Focus 15.
10        4. Defendants did not pay a single penny of the principal of any of the loans.
11        5. Defendants had no intention of paying back the principal on any of the loans.
12        6. Defendants’ failure to pay back the loans is not unique to Focus 15 as Defendants
13 have a history of defrauding creditors into making loans and not paying them back.
14        7. By improperly retaining the money given by Focus 15 to Defendants,
15 Defendants have been unjustly enriched.
16                                    II.      PARTIES
17        A.     Plaintiff
18        8. Plaintiff FOCUS 15, LLC. is now, and at all times mentioned in this
19 complaint was, a New York LLC with its principal place of business in Brooklyn,
20 New York.
21        B.     Defendants
22        9. Defendant NICO CORPORATION is now, and at all times mentioned in this
23 complaint was, a California Corporation with its principal place of business in San
24 Francisco, California.
25        10. On information and belief, Defendant IAN MATTHEW HANNULA is an
26 individual residing in the State of California, County of San Francisco. Hannula is
27 the Chief Executive Officer and President of Defendant NICO Corp. and is a personal
28 guarantor of each of the contracts breached by Defendants here.

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 1         11. On information and belief, Defendant JOSEPH PHILIP HALLER is an
 2 individual residing in the State of California, County of San Francisco. Haller is the
 3 Chief Financial Officer and Secretary of Defendant NICO Corp. and is a personal
 4 guarantor of each of the contracts breached by Defendants here.
 5         12. The true names and capacities of Defendants referred to in this Complaint as
 6 Does 1 to 50, inclusive, and each of them, are unknown to Focus 15 at this time. Focus
 7 15 is informed and believes that they are in some way responsible for the injury and
 8 damages incurred. Focus 15 will amend this Complaint to allege the true names and
 9 capacities of Does 1 to 50 when ascertained.
10         13. Focus 15 is informed and believes and alleges that at all material times each of
11 the Defendants were the agents, servants, directors, managers or employees of the co-
12 defendants, and in doing or omitting the things alleged in this Complaint were acting in
13 an agency, managerial or employment capacity within the course and scope of their
14 authorities, and their acts and conduct were with the permission and consent of the co-
15 defendants. Focus 15 is informed and believes, and therefore alleges that all of the
16 conduct by the individual Defendants that was outside the scope of their authority was
17 known to, authorized and ratified by the co-defendants.
18         14. Focus 15 is further informed, believes, and alleges that each Defendant
19 designated as a Doe was responsible, negligently, or in some other actionable manner, for
20 the events and happening referred to in this Complaint, which directly or proximately
21 caused injury and damages to Focus 15.
22                           III.   JURISDICTION AND VENUE
23         15. This Court has original subject matter jurisdiction over this action under the
24 Racketeering Influenced and Corrupt Organizations Act, 18 U.S.C. § 1964 (the “RICO
25 Act” or “RICO”).
26         16. This Court also has diversity jurisdiction over this action because at the time
27 the lawsuit was initiated Focus 15 was a New York limited liability company with its
28 principal place of business in Brooklyn, New York, and all Defendants were residents

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 1 of the state of California. Defendants Hannula and Haller reside in San Francisco,
 2 California. Defendant NICO is a California Corporation with its principal place of
 3 business in the state of California. See Grupo Dataflux v. Atlas Global, L.P., 541 U.S.
 4 567, 570-571 (2004) [Discussing jurisdiction based on diversity is determined at the
 5 time the action was brought]. As a result, the diversity of citizenship requirement has
 6 been met. In addition, the amount in controversy requirement has been met because
 7 Defendants obtained loans totaling $225,000 which is over $75,000.
 8         17. This Court has personal jurisdiction over all Defendants and venue is proper
 9 because all Defendants are residents of the State of California and within this judicial
10 district. Further, the acts and practices of all Defendants described here occurred in
11 California and within this judicial district, and this Court has jurisdiction over the
12 controversy, which arises out of that conduct.
13                                         IV.   FACTS
14         18. On February 23, 2016, Defendant NICO Corp. entered into a written
15 promissory note with Focus 15 (“Note 1”) in which Focus 15 agreed to loan Defendant
16 NICO Corp. one-hundred thousand dollars ($100,000.00). Defendant NICO Corp. agreed
17 to repay the note subject to eight percent (8%) interest and to make payments on the first
18 day of each month beginning on April 1, 2016, through the maturity date on March 1,
19 2020. Payments from April 1, 2016 through March 1, 2017 were interest only payments,
20 each in the amount of $666.66. Beginning April 1, 2017, payment would be interest and
21 principal, each in the amount of $3,133.64. Defendants Hannula and Haller signed a
22 Guaranty of the note in exchange for ten dollars ($10.00). A true and correct copy of the
23 Note 1 written agreement signed by Defendants and notarized in San Francisco County
24 is attached as Exhibit A.
25         19. On June 1, 2016, Defendant NICO Corp. entered into a written promissory note
26 with Focus 15 (“Note 2”) in which Focus 15 agreed to loan Defendant NICO Corp. fifty
27 thousand dollars ($50,000.00). Defendant NICO Corp. agreed to repay the note subject
28 to eight percent (8%) interest and to make payments on the first day of each month

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 1 beginning on July 1, 2016, through the maturity date on June 1, 2020. Payments from
 2 July 1, 2016 through June 30, 2017 were interest only payments, each in the amount of
 3 $333.33. Beginning June 30, 2017, payments would be interest and principal, each in the
 4 amount of $1,566.82. Defendants Hannula and Haller signed a Guaranty of the note in
 5 exchange for ten dollars ($10.00). A true and correct copy of the Note 2 written agreement
 6 signed by Defendants and notarized in San Francisco County is attached as Exhibit B.
 7         20. On July 31, 2016, Defendant NICO Corp. entered into a written promissory
 8 note with Golden Focus, LLC (“Note 3”) in which Golden Focus agreed to loan
 9 Defendant NICO Corp. fifty thousand dollars ($50,000.00). Defendant NICO Corp.
10 agreed to repay the note subject to eight percent (8%) interest and to make payments on
11 the fifteenth day of each month beginning on August 15, 2016 through the maturity date
12 on August 15, 2020. Payments from August 15, 2016 through and including August 14,
13 2017 were interest only payments, each in the amount of $333.33. Beginning August 15,
14 2017, payments would be of interest and principal, each in the amount of $1,566.82.
15 Defendants Hannula and Haller signed a Guaranty of the note in exchange for ten dollars
16 ($10.00). A true and correct copy of the Note 3 written agreement signed by Defendants
17 and notarized in San Francisco County is attached as Exhibit C.
18         21. On or around July 17, 2017, Golden Focus assigned Note 3 to Focus 15.
19         22. On February 15, 2017, Defendant NICO Corp. entered into a written
20 promissory note with Focus 15 (“Note 4”) in which Focus 15 agreed to loan Defendant
21 NICO Corp. twenty-five thousand dollars ($25,000.00). Defendant NICO Corp. agreed
22 to repay the note subject to eight percent (8%) interest and to make payments on the first
23 day of each month beginning on December 1, 2016. Defendant agreed to pay fifty percent
24 (50%) of the loan by March 15, 2017 and the entire outstanding balance of the loan by
25 April 15, 2017. Defendants Hannula and Haller signed a Guaranty of the note in exchange
26 for ten dollars ($10.00). A true and correct copy of the Note 4 written agreement signed
27 by Defendants and notarized in San Francisco County is attached as Exhibit D.
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 1         23. On or around April 17, 2017, when the first principal payment on Note 1
 2 became due, Defendants failed to make the agreed upon payments.
 3         24. Defendants have not made a single payment towards the principal on any of
 4 the notes in breach of the express terms of the written promissory notes.
 5         25. In fact, Defendants never had any intention to pay back these loans.
 6         26. On information and belief, Defendants borrowed money and/or obtained
 7 services from at least ten other creditors which Defendants did not pay back:
 8         27. On information and belief, Defendants entered into an agreement with an
 9 individual named Hugo Ortega to do production for NICO Corp.’s clothing. The
10 production agreement was for $48,000. Hugo Ortega produced NICO Corp.’s clothing
11 per the terms of the agreement. However, sometime after Hugo produced and delivered
12 the clothing to NICO Corp., one of Defendants’ employees, Sherri Lane, received a call
13 from one of Hugo Ortega’s employees indicating the Hugo Ortega had not been paid and
14 sought payment from Defendants. Defendants refused and did not pay Hugo Ortega.
15         28. On information and belief, on or about September 15, 2016, Defendants
16 obtained a $600,000 loan from an individual named Evan Williams. In exchange, Evan
17 Williams was to obtain 3% equity in the company after a second round of loans.
18 Defendants did not pay back the loan. Defendants told one of their employees not to
19 worry about paying back the loan because it was allegedly not in writing. Subsequently,
20 Defendants approached Evan Williams to obtain a second loan which Evan William’s
21 declined.
22         29. On information and belief, on or about November 19, 2012, Defendants
23 obtained a $20,000 loan from an individual named Wendy Dewalt at an 8% interest. The
24 loan was to be paid back by March 15, 2013. Defendants did not pay back the loan.
25 Defendants knew the loan had not been repaid and intentionally waited for the statute of
26 limitations to run to avoid any liability to Wendy Dewalt.
27         30. On information and belief, Defendants obtained a $32,000 loan from an
28 individual named David Pierce. Defendants did not pay back the loan. Defendants did not

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 1 intend to pay back that loan because Defendants sought to determine their exposure to
 2 liability if there was no written agreement.
 3         31. On information and belief, Defendants obtained a $22,000 loan from one of
 4 their employees named Sherri Lane. The loan originated from Defendants’ failure to pay
 5 Sherri Lane wages owed to her. On information and belief, Defendants entered into an
 6 agreement with Sherri Lane to turn the wages owed to her into a loan. Defendants did not
 7 pay Sherri Lane.
 8         32. On information and belief, Defendants entered into an agreement with a
 9 company named MH Architects to do work at NICO Corp. MH Architects performed the
10 work. The work performed by MH Architects totaled $5,000. Defendants did not pay for
11 the work performed.
12         33. On information and belief, Defendants took out two loans from Bank of the
13 West:
14         (a) On or about February 11, 2009, Defendants executed a promissory note with
15 Bank of the West for a $150,000 loan. On information and belief, the promissory note
16 was secured by a personal guaranty signed by Defendants and NICO Corps. property.
17 Defendants agreed to make monthly payments on this loan. On or about August 28, 2014,
18 Defendants executed a change in terms of the February agreement decreasing their credit
19 limit to $75,000. On information and belief, Bank of the West assigned its interest in the
20 sums due to a company known as Jonathan Neil & Associates, Inc. Defendants were sued
21 in the California Superior Court because Defendants failed and refused to pay back
22 $73,000 owed.
23         (b) On or about August 28, 2014, Defendants executed another promissory note
24 with Bank of the West in the amount of $61,506.64. On information and belief, the
25 promissory note was secured by a personal guaranty signed by Defendants and NICO
26 Corps. property. Defendants agreed to make monthly payments on this loan. On
27 information and belief, Bank of the West assigned its interest in the sums due to a
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 1 company to Jonathan Neil & Associates, Inc. Defendants were sued in the California
 2 Superior Court because Defendants failed and refused to pay back the $18,000 owed.
 3         34. On information and belief, Defendants also obtained loans from other
 4 institutions and did not repay those loans. The loans include but are not limited to a
 5 $50,000 loan from Wells Fargo Bank, a $75,000 loan from an entity known as Little Leo
 6 Ltd., and $170,000 loan from an entity known as First Tennessee.
 7         35. In total, Defendants borrowed approximately $1,300,000 from at least eleven
 8 (11) creditors, including Focus 15, and did not pay back a single penny.
 9    36. Defendants actions of obtaining loans from eleven (11) different creditors and not
10    paying them back constitutes a pattern to defraud creditors by inducing them to make
11   loans when Defendants did not intend to pay them back. FIRST CAUSE OF ACTION
12                         Civil RICO 18 U.S.C. § 1962(c) and 1964
13                                 (Against All Defendants)
14         37. Focus 15 incorporates by reference the allegations in paragraphs 1-36 of this
15 Complaint as though fully set forth here.
16         38. Defendants formed an enterprise, NICO Corp., and association-in-fact
17 enterprise with the meaning of 18 U.S.C. § 1961(4) (the “Enterprise”)
18         39. The Enterprise is an ongoing organization of Defendants NICO Corp.,
19 Hannula, and Haller associated for common and shared purposes, including: (a)
20 conceiving and planning a fraudulent scheme to induce at least eleven (11) creditors,
21 including Focus 15, to make loans that Defendants had no intention of paying back, as
22 described in paragraphs 18-36; and (b) taking overt acts to enter into agreements to
23 obtain loans and accept funds with no intention of paying them back.40. Defendants
24 acts of obtaining loans from at least eleven (11) creditors, including Focus 15, and not
25 paying them back constitutes a pattern because Defendants have a practice of
26 defrauding unsuspecting creditors by inducing them to make loans that Defendants do
27 not intend to pay back. Defendants have engaged in this pattern from at least 2012
28 through present.

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 1         41. All Defendants through the Enterprise engaged in and continue to engage in a
 2 pattern of racketeering activity comprised on the predicate acts of mail fraud (18 U.S.C.
 3 § 1341) and wire fraud (18 U.S.C. § 1343).
 4         42. Defendants made false representations to every creditor, including Focus 15,
 5 that the loans would be paid back.
 6         43. Defendants knew or had reason to know their representations were false
 7 because Defendants did not intend to repay the loans. Examples abound:
 8         (a) Defendants induced Focus 15 to make multiple loans and did not repay the
 9 principal on any of the loans. Defendants refused to pay back the loans when Focus 15
10 attempted to negotiate a repayment of the loans.
11         (b) Defendants knew they had not repaid the Wendy Dewalt loan and
12 intentionally waited for the statute of limitations to expire to avoid any liability to
13 Wendy Dewalt.
14         (c) Defendants knew they had not repaid the David Pierce loan and attempted to
15 determine their exposure to liability to David Pierce if there was no written agreement.
16         (d) Defendants knew they had not repaid the Evan Williams loan and told one of
17 their employees not to worry about paying the loan back because the loan was allegedly
18 not in writing.
19         (e) Defendants knew Hugo Ortega had not been paid for his work because Sherri
20 Lane received a call from one of Hugo Ortega’s employees asking that Defendants pay
21 Hugo Ortega and Defendants refused to pay.
22         (f) Defendants knew they had not repaid the $91,000 they spent using the Bank of
23 the West lines of credit and refused to pay it back. Defendants were sued in San
24 Francisco Superior Court because they refused to repay the $91,000.
25         44. The creditors, including Focus 15, did not know Defendants’ representations
26 were false because the creditors made the loans in good faith. The creditors did not have
27 any reason to suspect that Defendants had no intention of paying back the loans.
28         45. Defendants intended to induce each creditor to make the loans by making

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 1 promises Defendants knew they would not keep. Defendants promised every creditor
 2 that the loans would be paid back but Defendants reneged on that promise.
 3         46. The Enterprise engaged in or affected interstate commerce because Focus 15
 4 is a New York LLC and its managing member resides in California. Further,
 5 Defendants made use of interstate wires and mail to transfer the proceeds of the loans.
 6         47. Each fraudulent inducement to obtain the loans and fraudulent acceptance of
 7 funds from each creditor, including Focus 15, constitutes a separate violation and
 8 predicate act.
 9         48. Each Defendant in this action has engaged in two or more predicate acts as
10 detailed above.
11         49. Each Defendant agreed to conduct, and did conduct or participate in, the
12 Enterprise’s affairs through a pattern of racketeering activity. Defendants intended their
13 activity to obtain ill-gotten proceeds. Defendants intended their activity to injure
14 Plaintiff Focus 15 in its financial interests.
15         50. The predicate acts described here are related because they were committed
16 using the same or similar methods and conduct, targeted the same or similar victims,
17 involved the same or similar participants, and were performed for the same or similar
18 purposes. See H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 240 (1989). The predicate
19 acts described here are continuous, occurring from 2012 until the present. That time
20 period represents close-ended continuity. Id.
21         51. By executing the scheme to extort Focus 15, as described above, all
22 Defendants have participated in the scheme to extort Focus 15.
23         52. Defendants’ pattern of racketeering activity damaged Focus 15 in the amount
24 of $225,000 of improperly obtained loan proceeds that Defendants have not paid back
25 and in an amount to be proven at trial for legal costs associated with Defendants’
26 fraudulent scheme to accept funds with no intention of paying them back.
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 1                              SECOND CAUSE OF ACTION
 2                   Civil RICO Conspiracy 18 U.S.C. § 1962(d) and 1964
 3                                    (Against Defendants)
 4         53. Focus 15 incorporates by reference the allegations in paragraphs 1-52 of this
 5 Complaint as though fully set forth here.
 6         54. All Defendants conspired to engage in a pattern of racketeering activity
 7 comprised on the predicate acts of mail fraud (18 U.S.C. § 1341) and wire fraud (18
 8 U.S.C. § 1343). Defendants each agreed to facilitate all or some of the predicate acts
 9 described in paragraphs 18-36 here. That agreement is manifest by their knowing
10 participation in or support of the predicate acts identified here.
11         55. By planning and executing the scheme to extort Focus 15, as described above,
12 all Defendants have participated in the scheme to extort Focus 15.
13         56. As a direct and proximate result of Defendants’ conspiracy, the overt acts
14 taken in furtherance of that conspiracy, and violations of 18 U.S.C. § 1962(d), Plaintiff
15 Focus 15 has been injured in its business and property as described above.
16         57. Defendants’ pattern of racketeering activity damaged Focus 15 in the amount
17 of $225,000 of improperly obtained loan proceeds that Defendants have not paid back
18 and in an amount to be proven at trial for legal costs associated with Defendants’
19 fraudulent scheme to accept funds with no intention of paying them back.
20                               THIRD CAUSE OF ACTION
21                                     Breach of Contract
22                                  (Against All Defendants)
23         58. Focus 15 incorporates by reference the allegations in paragraphs 1-57 of this
24 Complaint as though fully set forth here.
25         59. Between February 2016 and February 2017, Defendant entered into four
26 promissory notes and guaranties with Focus 15 and Golden Focus (Note 3 was assigned
27 by Golden Focus to Focus 15 on or around July 17,2017) totaling $225,000.00.
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 1        60. Under the express terms of the promissory notes, Defendants had an obligation
 2 to pay Focus 15 monthly payments to repay each of the four notes totaling $225,000 with
 3 eight percent (8%) interest.
 4        61. Focus 15 performed all of its obligations under the notes by providing
 5 Defendants the sum of each loan, totaling $225,000.00, and compensation for the
 6 Guaranties.
 7        62. In or around April 2017, Defendant breached the promissory notes by refusing
 8 to make payments under the express terms of the notes.
 9        63. As a proximate cause of Defendants’ breach, Focus 15 was damaged in an
10 amount to proven at trial.
11        64. The express terms of each note allow for the recovery of attorneys’ fees, costs
12 and expenses to enforce the Note.
13                              FOURTH CAUSE OF ACTION
14                                Money Had and Received
15                                (Against All Defendants)
16        65. Focus 15 incorporates by reference the allegations in paragraphs 1-64 of this
17 Complaint as though fully set forth here.
18        66. Between February 2016 and February 2017, Focus 15, and through an assigned
19 note from Golden Focus, loaned a total amount of $225,000.00 to Defendants. The money
20 loaned belonged to Focus 15 subject to the terms of repayment of the notes.
21        67. Defendants received and benefited from the receipt of the money. Since
22 approximately April 2017, Defendants have refused to make any further payments on
23 the notes.
24        68. Under the principles of equity and good conscience, Defendants should not be
25 permitted to keep Focus 15’s money loaned to Defendants by Focus 15.
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                                         COMPLAINT
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 1                               FIFTH CAUSE OF ACTION
 2                                    Unjust Enrichment
 3                                 (Against All Defendants)
 4         69. Focus 15 incorporates by reference the allegations in paragraphs 1-68 of this
 5 Complaint as though fully set forth here.
 6         70. Between February 2016 and February 2017, Focus 15, and through an assigned
 7 note from Golden Focus, loaned a total amount of $225,000.00 to Defendants. The money
 8 loaned belonged to Focus 15 subject to the terms of repayment of the notes.
 9         71. Defendants were enriched by the loans at the expense of Focus 15.
10         72. Defendants have retained the enrichment after failing to make agreed upon
11 payments under the express terms of the notes.
12         73. Focus 15 seeks to recover the amount loaned to Defendants plus eight percent
13 (8%).
14         74. It is against the principles of equity and good conscience to permit Defendants
15 to retain what Focus 15 seeks to recover.
16                               SIXTH CAUSE OF ACTION
17                   Violation of Business and Professions Code § 17200
18                                 (Against All Defendants)
19         75. Focus 15 incorporates by reference the allegations in paragraphs 1-74 of this
20 Complaint as though fully set forth here.
21         76. California Business & Professions Code section 17200 prohibits any
22 unlawful, unfair, and fraudulent business practice.
23         77. Defendants violated section 17200 but engaging in the unlawful act or
24 practice of defrauding at least eleven (11) creditors, including Focus 15, by obtaining
25 loans with no intention of paying them back.
26         78. As a result of Defendants’ conduct, Focus 15 suffered harm, as described
27 above.
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 1                                 PRAYER FOR RELIEF:
 2        WHEREFORE, Focus 15 prays for judgment in its favor and against Defendants,
 3 jointly and severally, and requests that this Court award Focus 15 the following:
 4        A.     An award of compensatory damages in an amount to be determined at trial;
 5        B.     An award of threefold damages sustained by Focus 15 under RICO, 18
 6 U.S.C. § 1964(c);
 7        C.     An award of costs and reasonable attorney fees and expenses incurred by
 8 Focus 15 in connection with this action under 18 U.S.C. § 1964(c);
 9        D.     Pre-judgment and post-judgment interest on the above damage awards;
10        E.     An order adjudging all Defendants jointly and severally liable, as the law
11 allows, under each cause of action asserted by Focus 15 and for all damages awarded
12 against any Defendant;
13        F.     Such other relief as this Court may deem just.
14
15 Dated: April 4, 2022                       FORD & DIULIO PC
16
17                                         By: /s/ Brendan M. Ford
                                              Brendan M. Ford
18
                                               Attorney for Plaintiff FOCUS 15, LLC and
19                                             Third-Party Defendant MAURIZIO
                                               DONADI
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1                               JURY TRIAL DEMAND
2       Plaintiff Focus 15, LLC demands a trial by jury.
3
4 Dated: April 4, 2022                     FORD & DIULIO PC
5
6                                       By: /s/ Brendan M. Ford
                                           Brendan M. Ford
7
                                           Attorney for Plaintiff FOCUS 15, LLC and
8                                          Third-Party Defendant MAURIZIO
                                           DONADI
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 1                                       CERTIFICATE OF SERVICE
 2           I, Eduardo Dominguez, hereby certify as follows:
 3          I am employed in the County of Orange, State of California; I am over the age of eighteen
     years and am not a party to this action; my business address is 650 Town Center Drive, Suite 760,
 4   Costa Mesa, California 92626. On April 4, 2022 I served the following:
 5
     FIRST AMENDED COMPLAINT
 6   on the interested parties in this action, by:
 7
           Service by Email: by transmitting a true and correct copy electronically under Rule
 8          2.251 of the California Rules of Court to the email addresses listed below. The email was
            sent from edominguez@forddiulio.com.
 9
            Marc R. Stimpert                                 marc@lunskilaw.com
10          Andrew C. McClelland                             andrew@lunskilaw.com
            Lunski & Stimpert LLP
11          201 Spear Street, Suite 1100
            San Francisco, California 94105
12
            Attorneys for Defendants and Third-Party
13          Complainants NICO Corporation, Ian
            Matthew Hannula, and Joseph Philip Haller
14

15
             I certify under penalty of perjury that the foregoing is true and correct, and that this
16           Certificate of Service was executed by me on April 4, 2022 at Costa Mesa, California.
17

18                                                   /s/ Eduardo Dominguez
                                                     Eduardo Dominguez
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                                             CERTIFICATE OF SERVICE
